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                   10
                                                        UNITED STATES DISTRICT COURT
                   11
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   12
                                                              SAN JOSE DIVISION
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                   14
                        GOOGLE LLC,                                          Case No.
                   15
                                           Plaintiff,                        COMPLAINT
                   16
                               v.
                   17
                        NCHE NOEL NTSE,
                   18
                                           Defendant.
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                   20
                   21                                           INTRODUCTION

                   22          1.      Defendant Nche Noel Ntse has been perpetrating a puppy fraud scheme to exploit

                   23   the COVID-19 pandemic for personal gain, while taking advantage of unsuspecting and

                   24   vulnerable victims. Defendant runs multiple non-delivery websites that deceive and defraud

                   25   internet users in the United States. Some of these fraudulent websites purport to sell adorable

                   26   puppies, and victims are tricked into believing the websites are legitimate because of their

                   27   alluring photos of purebred puppies (see Figure 1), and compelling testimonials from supposedly

                   28   satisfied customers. These photos aim to bait would-be victims into believing the puppies are real
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                    1   and that they are interacting with actual dog breeders. But Defendant does not actually sell

                    2   puppies, and instead is running multiple international non-delivery scams with the intent to

                    3   exploit the COVID-19 pandemic and the resulting high demand for puppies in the U.S.

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                                                                 Figure 1.
                   14                                 Image of “Available Puppies,”
                                        https://jerrysbassethoundhome[.]com/available-puppies/,
                   15                                   retrieved on April 8, 2022.
                   16          2.      Defendant’s non-delivery scheme follows a similar script to many other online

                   17   scams where malicious actors pretend to be someone they are not to convince victims to part with

                   18   money for something they will never receive. Examples of other such scams include illicit

                   19   prescription drug scams, romance scams targeting widows and widowers, loan scams targeting

                   20   veterans, and investment scams targeting the elderly. These schemes rely on one-on-one
                   21   communications to lull victims into a false sense of trust after they have invested significant time

                   22   and energy communicating with people they think they have come to know. Defendant’s online

                   23   puppy scam is particularly nefarious because it not only relies on one-on-one communications,

                   24   but also exploits the joy of pet adoption, resulting in both emotional harm and financial loss.

                   25          3.      Defendant has used several Google services, such as Gmail and Google Voice, via

                   26   dozens of fraudulent Google accounts, to communicate false promises to victims, register the
                   27   fraudulent websites with U.S. internet hosting companies, and request and receive payments, all

                   28   in violation of Google’s Terms of Service (“ToS”).
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                    1            4.    Defendant’s fraudulent and illegal activities cause financial harm to Google,

                    2   including by interfering with Google’s relationships with its users (and potential users), harming

                    3   Google’s reputation, and forcing Google to expend substantial resources in excess of $75,000 to

                    4   investigate and remediate Defendant’s harmful activities. Defendant’s exploitative and malicious

                    5   sham pet adoption scheme abuses Google products to prey on vulnerable victims during an

                    6   unprecedented pandemic.

                    7            5.    Google brings this action for breach of contract to protect victims from

                    8   Defendant’s fraudulent scheme, disrupt Defendant’s activities, prevent Defendant from causing

                    9   further harm, raise public awareness of these and similar online scams, and to recover damages.

                   10                                               PARTIES
                   11                                                 Plaintiff

                   12            6.    Plaintiff Google is a corporation organized under the laws of the State of Delaware

                   13   with its principal place of business at 1600 Amphitheatre Parkway, Mountain View, California

                   14   94043.

                   15            7.    Google is a leading technology company that operates numerous products,

                   16   platforms, and services, several of which are core to its business and relevant here:

                   17                  (a) Gmail: Gmail is a free email service that is hosted on Google’s servers with

                   18                      more than 1.5 billion active users worldwide.

                   19                  (b) Google Voice: Google Voice is a free call management service that works on

                   20                      smartphones and the web so users can place and receive calls from anywhere,
                   21                      forward calls to any device, and have spam calls silently blocked. Google

                   22                      Voice numbers are linked to other Google accounts, usually Gmail.

                   23                  (c) Google Search: Google Search is an internet-based search engine that allows

                   24                      users to search for publicly accessible documents and websites indexed by

                   25                      Google’s servers.

                   26                  (d) Google Ads: Google Ads is an online advertising platform through which
                   27                      advertisers can publish advertisements on various Google platforms, including,

                   28                      for example, Google Search and YouTube.
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                    1            8.     Google strives to provide its users worldwide with safe and secure platforms.

                    2   Google allocates substantial resources to prevent its services from being used to commit fraud. But

                    3   even the most advanced systems cannot catch every single fraudulent communication, particularly

                    4   where victims are lured to contact scammers outside of Google’s services. To confront this

                    5   challenge, Google also solicits and receives reports of abuse of its services.1

                    6                                                  Defendant

                    7            9.     On information and belief, Defendant Nche Noel Ntse is a person who resides in

                    8   Cameroon.

                    9                                      JURISDICTION AND VENUE
                   10            10.    This Court has jurisdiction over the cause of action alleged in this Complaint

                   11   pursuant to 28 U.S.C. § 1332 because complete diversity exists between Plaintiff and Defendant,

                   12   and because the amount in controversy exceeds $75,000.

                   13            11.    This Court has personal jurisdiction over Defendant because Defendant agreed to

                   14   Google’s US ToS, which require Defendant to submit to the personal jurisdiction of this Court.

                   15            12.    This Court also has personal jurisdiction over Defendant because Defendant used

                   16   Google’s services to carry out the unlawful activity, and Google’s headquarters are located in this

                   17   district. Additionally, personal jurisdiction over Defendant is proper because Defendant used web

                   18   hosting services located in San Mateo, California to facilitate the unlawful activity.

                   19            13.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b), as the

                   20   threatened and actual harm to Google occurred in this district. Defendant’s use of web hosting
                   21   services located in San Mateo, California to enable Defendant’s unlawful activity provides an

                   22   additional basis for venue in this judicial district.

                   23                                       FACTUAL ALLEGATIONS
                   24            A.     Non-Delivery Scams Targeting American Consumers
                   25            14.    Over the last two years, there has been a dramatic increase in online scams and

                   26   fraud. The COVID-19 pandemic significantly contributed to this rise by causing many Americans
                   27   to switch from in-person to online purchases of goods and services. It also increased their social

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                            See Reporting Abuse Incidents, https://support.google.com/a/answer/134413.
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                    1   isolation, leading people to seek ways to alleviate the loss of companionship normally provided

                    2   by work, school, or socializing, like through pet adoptions.2

                    3             15.   According to the Better Business Bureau, 35% of all online shopping scams

                    4   reported to it in 2021 were “pet scams.”3 Another study found that, from January through October

                    5   of 2021, “there were 165% more puppy scams in the U.S. than during the same period in pre-

                    6   pandemic 2019.”4 An AARP report explains that scammers, usually located abroad, “post fake

                    7   litters online or pretend to be someone they’re not, usually an existing breeder,” and warns that

                    8   victims “could send a ‘breeder’ money and never receive a puppy or follow-up communication.”5

                    9   These scammers tend to post photos and videos of adorable puppies with prices that are too good

                   10   to be true and ask for payment upfront through wire payments, gift cards, or direct transfer apps.6

                   11   After receiving payment, the scammers often double down by inventing additional costs, such as

                   12   animal quarantine fees and unexpected delivery fees.7

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                         See, e.g., Alice Kantor, Coronavirus triggers epidemic of cyber fraud, FINANCIAL TIMES (Apr.
                        14, 2021), https://www.ft.com/content/30553ae9-cdfd-483c-a1ef-c04e3135f9da; Jordan
                   17   Reynolds, 9 reasons digital fraud is on the rise, SECURITY (Nov. 12, 2020),
                        https://www.securitymagazine.com/articles/93912-reasons-digital-fraud-is-on-the-rise; Maggie
                   18   Leonhardt, Online fraud attempts are up 25% in the US—here’s why, CNBC MAKE IT (Jun. 3,
                        2021), https://www.cnbc.com/2021/06/03/why-online-fraud-attempts-are-up-25percent-in-the-
                   19   us.html.
                        3
                   20    See, e.g., Purchasing a puppy online remains extremely risky, BBB warns holiday shoppers,
                        BETTER BUSINESS BUREAU (Dec. 9, 2021), https://www.bbb.org/article/news-releases/26235-
                   21   purchasing-a-puppy-online-remains-extremely-risky-bbb-warns-holiday-shoppers.
                        4
                   22     Matt Howerton, Getting a dog for Christmas? Beware, a new study says Texas is the No. 2 state
                        for puppy scams, WFAA 8 ABC (Dec. 1, 2021), https://www.wfaa.com/article/news/local/
                   23   getting-a-dog-for-christmas-beware-a-new-study-says-texas-is-the-number-2-state-for-puppy-
                        scams/287-9ada3e6c-5fbc-4ad4-bce4-5440b4f44fbf.
                   24
                        5
                         Katherine Skiba, Pet Scammers Peddle Pandemic Puppies That Don’t Exist, AARP (Nov. 16,
                   25   2021), https://www.aarp.org/money/scams-fraud/info-2021/pet-scammers-pandemic-puppies.html
                        6
                   26       See id.

                   27   7
                         See id. (“[Scammers] left multiple victims empty-handed. That’s despite paying for the dogs as
                        well as for subsequent fake costs fraudsters asserted had been incurred, including for a supposed
                   28   need to quarantine animals because of coronavirus exposure.”).
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                    1             16.    Because only a small proportion of scammers are prosecuted,8 most victims are

                    2   unlikely to see justice or recompense for the financial and emotional harm they suffer.

                    3             B.     Google’s Terms of Service and Related Policies
                    4             17.    Regardless of the Google service used, all Google users must agree to Google’s

                    5   ToS.9 The particular version of the ToS to which a user is bound is based on the geographic

                    6   region of the IP address from which the account is created. For example, users who create

                    7   accounts from US-based IP addresses must consent to the US version of the ToS (“Google US

                    8   ToS”).10

                    9             18.    Whenever Google updates its ToS, users are notified and must agree to the

                   10   updated terms to continue using Google’s services.

                   11             19.    The Google US ToS require users to “comply with applicable laws” and prohibit

                   12   users from “misleading [or] defrauding . . . others.” See Ex. 1.

                   13             20.    Google’s US ToS contain a choice of law and forum selection clause, which

                   14   provides: “California law will govern all disputes arising out of or relating to these terms, service-

                   15   specific additional terms, or any related services, regardless of conflict of law rules. These

                   16   disputes will be resolved exclusively in the federal or state courts of Santa Clara County,

                   17   California, USA, and you and Google consent to personal jurisdiction in these courts.” Ex. 1.

                   18             21.    To use a consumer Gmail account—any email address that ends with

                   19   @gmail.com—users also must agree to Gmail Program Policies, which prohibit users from

                   20   “send[ing] messages to trick, mislead, or deceive other users into sharing information under false
                   21   pretenses.”11 Gmail Program Policies also prohibit users from “impersonating another person,

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                          See U.S. D.O.J. Dep’t of Public Affairs, Cameroonian Citizen Extradited from Romania to Face
                   23   Covid-19-Related Fraud Charges, DEPARTMENT OF JUSTICE (Apr. 27, 2021),
                        https://www.justice.gov/opa/pr/cameroonian-citizen-extradited-romania-face-covid-19-related-
                   24   fraud-charges.
                        9
                   25       See https://policies.google.com/terms.
                        10
                   26     See https://policies.google.com/terms?hl=en-US, attached as Exhibit 1. This exhibit includes
                        the Google US ToS for 2017, 2020, and 2022—all of which contain the same choice of law and
                   27   forum selection clauses and other provisions relevant to this Complaint.
                        11
                   28        See https://www.google.com/gmail/about/policy/, attached as Exhibit 2.
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                    1   company, or entity with the intent to deceive or mislead” and from using Gmail “to promote,

                    2   organize, or engage in unlawful activities.” Ex. 2.

                    3            22.     In addition to the Google ToS, Google Voice users must agree to the Google Voice

                    4   ToS12 and the Voice Acceptable Use Policy,13 which prohibits using Google Voice “to engage in

                    5   or promote illegal activities.” Ex. 4.

                    6            C.      Defendant Defrauded Googles Users and the Public Through Multiple Non-
                                         Delivery Scams
                    7

                    8            23.     In or around September 2021, Google received an abuse report from AARP, a

                    9   nonprofit, nonpartisan organization that serves and advocates on behalf of older Americans, and

                   10   whose mission is to empower people to choose how they live as they age. As part of that mission,

                   11   AARP alerts its members, government and corporate entities, and the general public about

                   12   common fraud schemes and tactics collected via the AARP Fraud Watch Network.

                   13            24.     The report provided by AARP indicated that in August 2021, an individual

                   14   (“Victim 1”) who, at all relevant times, lived in South Carolina, was looking for a puppy online

                   15   and found the website familyhomebassetthounds[.]com. The report indicated that Victim 1 sent

                   16   an email from their Gmail account to familyhomebassethound@gmail[.]com (“Gmail Account

                   17   A”), listed on the website, to express interest in a specific basset hound puppy.

                   18            25.     The report indicated that through correspondence with Gmail Account A and text

                   19   messages with the Google Voice number (954) 899-0315 (“Google Voice Number 1”), Victim 1

                   20   was instructed to pay for the puppy by sending $700 in electronic gift cards. Victim 1 bought the
                   21   gift cards and sent the gift card information to Google Voice Number 1. Victim 1 later received a

                   22   text from Google Voice Number 1 claiming that the delivery company, “Sunshine Express,”

                   23   needed an extra $1,500 to deliver the puppy. Victim 1 never received the puppy.

                   24            26.     Google investigated the information from AARP and uncovered a network of

                   25   Google, Gmail, and Google Voice accounts connected to Google Voice Number 1 and Gmail

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                   27        See https://support.google.com/voice/answer/9231816?hl=en, attached as Exhibit 3.
                        13
                   28     See https://support.google.com/voice/answer/9230450?hl=en&ref_topic=9273222, attached as
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                    1   Account A, which, on information and belief, are controlled by Defendant and used to conduct

                    2   other similar non-delivery schemes. The connected accounts are linked by, among other things,

                    3   subscriber email addresses or recovery email addresses, phone numbers, and login IPs. One of

                    4   these connected accounts, jurgenchloe7@gmail[.]com (“Gmail Account B”) was created in

                    5   November 2014, and its owner agreed to the Google US ToS (like many of the other connected

                    6   accounts).

                    7          27.     Gmail Account B has the same phone number as several Google accounts with

                    8   display names and recovery email addresses containing some variation of “Nche Noel Ntse.” One

                    9   of the oldest accounts, nchenoel123@gmail[.]com, was created in September 2013 from an IP

                   10   address in Cameroon and has a phone number with the country code for Cameroon. Furthermore,

                   11   a Gmail account that logged in from the same IP address as Gmail Account A uses the name

                   12   “Nche Noel Ntse” in the billing address. A separate Gmail account that lists Gmail Account B as

                   13   its recovery email address also contains the name “Nche Noel Ntse” in the billing address. The

                   14   repeated use of variations of “Nche Noel Ntse” as the name for these related Gmail accounts—

                   15   including for Gmail Account B, which agreed to the Google US ToS—indicates that the person

                   16   behind the basset hound non-delivery scam is named Nche Noel Ntse and is based in Cameroon.

                   17          28.     When Google investigated the AARP report about

                   18   familyhomebassetthounds[.]com, the website had been disabled. Google located an image of the

                   19   homepage for a similarly-named website, familybassethoundhome[.]com, on a website about

                   20   puppy scams.
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                               Figure 2. Image of familybassethound[.]com webpage found at https://puppy-scammer-
                   28                      list.us/familybassethoundhome-com, retrieved on April 8, 2022.
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                    1          29.     The above screenshot of familybassethoundhome[.]com (Figure 2) contains the

                    2   same language as a still-active puppy scam website, jerrysbassethoundhome[.]com (Figure 3),

                    3   which is hosted by Dynadot, a domain name registrar and web hosting service based in San

                    4   Mateo, California. On information and belief, Dynadot generally requires a court order before it

                    5   will disable fraudulent websites.

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                   18                 Figure 3. Image of jerrysbassethoundhome[.]com homepage found at
                                       https://jerrysbassethoundhome[.]com/, retrieved on April 8, 2022.
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                    1          30.     Like the website reported by Victim 1, jerrysbassethoundhome[.]com offers

                    2   puppies for sale at a cost of $700, complete with heartwarming pictures and purported

                    3   “testimonials” from real and satisfied customers. By clicking the “buy” button in Figure 4 below,

                    4   website visitors are led to a webform that requests their full name, email address, phone number,

                    5   puppy name, and message.

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                                                 Figure 4. Image of “Available Puppies,”
                   17                              https://jerrysbassethoundhome[.]com/
                                               available-puppies/, retrieved on April 8, 2022.
                   18

                   19          31.     On information and belief, Defendant operates jerrysbassethoundhome[.]com. The

                   20   contact information for the webmaster of jerrysbassethoundhome[.]com, i.e., the person
                   21   responsible for creating or maintaining the website, is a Gmail account that logged in from the

                   22   same IP address as familyhomebassethound@gmail[.]com (Gmail Account A).

                   23          32.     Even as some of Defendant’s websites are suspended, new scam websites crop up,

                   24   evidencing a concerted effort to defraud and an ongoing harm to Google and to the public.

                   25   Recently, Google discovered a Google Ads account that ran an Ads campaign promoting

                   26   familyhomebassethound[.]com. The same Google Ads account was used to run an Ads campaign
                   27   for emilypuppyfarm[.]com, as well as the other domains listed in Exhibit 5. Publicly-available

                   28   records reveal that emilypuppyfarm[.]com was registered on March 27, 2022 with Namecheap, a
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                    1   domain name registrar and web hosting service based in Phoenix, Arizona. The recency of this

                    2   site shows that Defendant will continue to perpetrate fraud and abuse Google’s services unless

                    3   stopped. Google suspended the related Ads account and has requested that the website be taken

                    4   down.

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                                Figure 5. Image of maltipoofarmhome[.]com webpage, retrieved on January 5, 2022.
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                   19           33.    Defendant also ran maltipoofarmhome[.]com (Figure 5, above), a website that
                   20   purported to sell Maltipoo puppies for $700 and used nearly identical language to the basset
                   21   hound websites. The webmaster email for jerrysbassethoundhome[.]com attempted to run a
                   22   Google Ads campaign to promote maltipoofarmhome[.]com, which indicates common control
                   23   over the two sites. In late October 2021, Google suspended the Google Ads account for payment
                   24   fraud before any ads were served. Before it was taken down, Maltipoofarmhome[.]com was
                   25   hosted by Namecheap.
                   26           34.    On information and belief, Defendant also controlled moonrocksmand[.]com, a
                   27   website that purported to sell marijuana and prescription opiate cough syrup. The “Call Us”
                   28   section of the website listed a Google Voice number ending in -5071, which is registered to a
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                    1   Gmail account that logged in from the same IP address as several Gmail accounts controlled by

                    2   Defendant. Until April 7, 2022, when it was taken down at Google’s request,

                    3   Moonrocksmand[.]com was hosted by Porkbun, a domain name registrar and hosting provider

                    4   based in Portland, Oregon. On information and belief, moonrocksmand[.]com did not actually sell

                    5   controlled substances and was yet another non-delivery scheme.

                    6          35.     The above fraudulent websites, some of which are still operational, pose an

                    7   immediate risk of harm to Google and to the public. The websites are deliberately designed to trick

                    8   unsuspecting victims into believing they are buying real items and to lure them into sending money

                    9   for these nonexistent puppies and products via electronic means. Ultimately, the victims receive

                   10   nothing in return. As discussed above, Defendant uses a network of Gmail and Google Voice

                   11   accounts to facilitate the scheme and communicate with victims, one of whom is based in South

                   12   Carolina. These communications necessarily involve interstate and foreign wires because

                   13   Defendant is based in Cameroon, the websites are hosted by providers in California, Arizona, and

                   14   Oregon, and Victim 1 is based in South Carolina. In sum, Defendant is engaged in a “scheme or

                   15   artifice to defraud or for obtaining money or property by means of false or fraudulent pretenses,

                   16   representations, or promises,” and uses interstate and foreign wires to effect that scheme, in

                   17   violation of 18 U.S.C. § 1343.

                   18          D.      Defendant’s unlawful activity caused significant harm to Google
                   19          36.     Defendant’s breaches of the Google ToS, Gmail’s Program Policies, and the

                   20   Google Voice ToS have caused substantial harm to Google and pose a continuing risk of harm to
                   21   other Gmail users and the public. Defendant has violated express prohibitions against unlawful

                   22   activity and misrepresentation in these terms by perpetrating fraud through the use of Gmail

                   23   accounts and Google Voice numbers.

                   24          37.     Defendant’s breaches have injured Google by damaging the safety and integrity of

                   25   its platform, negatively impacting its users and potential users.

                   26          38.     Google has suffered damages attributable to the efforts and resources it has used to
                   27   address this Complaint; investigate and mitigate Defendant’s illegal conduct; and attempt to

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                    1   identify, analyze, and stop Defendant’s fraudulent and injurious activities. Many of these

                    2   damages are ongoing.

                    3                                         CAUSE OF ACTION
                    4                                          Breach of Contract
                    5          1.      Google realleges and incorporates by reference all preceding paragraphs.

                    6          2.      Access to and use of Google services, including Gmail and Google Voice, is

                    7   governed by Google’s ToS and related Google policies.

                    8          3.      Defendant agreed to and became bound by Google’s US ToS when Defendant

                    9   used Gmail and Google Voice services.

                   10          4.      Google has performed all conditions, covenants, and promises required of it in

                   11   accordance with Google’s US ToS.

                   12          5.      Defendant’s violations of Google’s US ToS and related policies have directly and

                   13   proximately caused and continue to cause harm and injury to Google.

                   14          6.      When Defendant agreed to and became bound by Google’s US ToS, both Google

                   15   and Defendant knew or could have reasonably foreseen that the harm and injury to Google was

                   16   likely to occur in the ordinary course of events as a result of Defendant’s breach.

                   17          7.      Defendant’s actions caused Google to incur losses and other economic damages,

                   18   including, among other things, the expenditure of resources to investigate and remediate

                   19   Defendant’s conduct and damage to the safety and integrity of Google’s platform, impacting

                   20   Google’s users and potential users. Google has been damaged in excess of $75,000. The exact
                   21   amount will be proven at trial.

                   22                                       REQUEST FOR RELIEF
                   23          Google requests judgment against Defendant as follows:

                   24          1.      Judgment against Defendant that Defendant breached their contracts with Google

                   25   in violation of California law.

                   26          2.      Judgment entering a permanent injunction enjoining and restraining Defendant and
                   27   their agents, servants, employees, successors, and assigns, and all other persons acting in concert

                   28   with or conspiracy with any of them or who are affiliated with Defendant from:
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                    1                     a. Accessing or attempting to access Google’s services;

                    2                     b. Creating or maintaining any Google accounts;

                    3                     c. Engaging in any activity (or facilitating others to engage in any activity)

                    4                           that violates Google’s ToS or related policies; and

                    5                     d. Continuing to operate the websites listed in Exhibit 5 and creating or

                    6                           operating any new scam websites.

                    7          3.      Judgment awarding damages, including, but not limited to, compensatory,

                    8   statutory and punitive damages, as permitted by law and in such amounts to be proven at trial.

                    9          4.      Judgment awarding reasonable costs, including reasonable attorneys’ fees.

                   10          5.      Judgment awarding awarded pre- and post-judgment interest as allowed by law.

                   11          6.      Other such relief that the Court deems just and reasonable.

                   12                                     DEMAND FOR JURY TRIAL
                   13          Google respectfully requests a jury trial.

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                   15   Dated: April 11, 2022                                COOLEY LLP
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                   17                                                        By: /s/ Michael G. Rhodes
                                                                                 Michael G. Rhodes
                   18
                                                                             Attorney for Plaintiff
                   19                                                        GOOGLE LLC
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                              14                                  COMPLAINT
